CaS€ 18-12586-313| DOC 23 Ent€red 06/25/18 11257232 Page l Of 10

--Fil| in this information to identify your cnse:

KENNETH MCMAHAN

Debler 1
Frst time trade Name muN:.-.~.e

 

Deblar 2
{Spouse, ititng) thh'eme Wdleltlmu LM\Na'no

olsen of Nevada

 

Un'rted States Benlrrupley Ceurt lor the:

Cese number 18‘12588

(ll lmmm)

 

 

 

Ofl”rcia| Form 427
cover Sheet for Reaflirmatlon Agreement 12115

Anyene who le a party to a reafflnnatten agreement may fill out and tl|e thls fonn. f-'l|| lt out eomp|etely, attach tt to the reaffirmatlon agreement,
and fl|o the documents wlthln the time set under Banlrrupfey Rule 4008.

-Part 1: Explaln the Repayment farms of the Reaf!trmatlen Agreement

1. wholsmacredlwr? Freedom Mortgage Corporation

Neme of the creditor

 

 

263,450.37

2’ H°w much 15 the debra On the date that the bankruptcy case te filed 5

263,450.37

To be peld under the reaflinnatlen agreement $

$ 2,655.13 332

per month for months (lf fixed interest rate)

 

 

3. wharrs me Annuar 3.87500 %
Percentage Relo (APR) '__'_"'

of lnlereet? (See
Bankruptr:y Codo Under the reaflin'nellen agreement 3'87500 % leed rate
§524tk)c3)¢E).) l nd;useee rare

Bafore the bankruptcy ease was filed

 

4. Does collaterat secure n No

 

the debt? Yes. Deserlbe the eoltaterel. Rea| Estate
Current market value $MQ_

 

5. Doee the creditor assert m No

that the debt ls
nnnd]schargaab[e? Cl Yes. Al'lech an explanation of the nature of the debt and the basis for eentendlng that the debt ls nondlschargeahle.

6. t.lsing information from
Scheo'ule l: your Incame

 

cement Form 1060 and ` “»~F'
Schedu!e J: Your Ge. Combined monthly income from $ 1:355.00 1 6e. Monthly income from all sources $ 3,930.{10
Expenses (Otftc|al Form line 12 et Schedule l after payroll deductions

1OBJ}, fill in the amounts.

Bb. Monthty expenses from line 220 ef,___ s 1,35()_00 {.SI Monthly expenses

- $ 1,350.00

Schedule J

60. Monthty payments on all _ 5 0.00 69- MOHWY PHYm€n!S on 3" -» 5 2,525 00
reaftlnned debts not ttsted on … reaffirmed debts not lnclur.ted in °
Schedule J monthly expenses

5’00 l'Bh. Preeent net monthly lncome 3 5'00

Subtract lines 6f end 69 from 69.

lt the total le less than 0, putthe
number in brackets.

6d. Sehedu|ed net monthly Ineeme $
Subtract |lnes 6b and 60 from 68.

|f the total le less than 0, put the
number tn brackets.

 

~».¢¢»-¢.--¢--¢.. .-~»~ .\~.»- -wmm-w \-v---.- .w .~r\.-.-r\-,.~rv-rn

 

 

 

Ol‘ltc|el Ferm 427 Cover Sheot for Ftoefltrrnat|on Agreement page 1

 

Case 18-12586-ab| DOC 23 Entered 06/25/18 11:57:32 Page 2 of 10

 

 

 

 

 

 

news 1 KENNETH MCMAHAN oasmmwww’ 18_12586
Fntlwna 155me Las!Narre

7. Are the income amounts g N<> _ \ _
on lines 6a and 69 w Yes. Explain why they are different and complete line 10. Sch€d“j@ 13@51<1*€1 not IHCJ\“{€ mone}' i"ald by
different?

others directly to make the loan payments for the Cadt!tac or the mortgage

8. Are the expense t:l No v _ l

amounts en times 6b E| Yes. Expialn why they are different and complete line ie, Debts that are being paid by others arc hstr:d on Gg.

 

and Gf different?
I have attached the dcciaration and the Prot`it and Loss for beth of thcm.

 

 

 

 

9. ls the net monthty m NO
income tn line oh iess Cl Yes. A presumption of hardship arises (uniess the creditor ls a credit union).
then 07 Expta|n how the debtor will make monthly payments on the reaffirmed debt and pay other living expenses
Compiele !lne 19,
W‘;;°e;"g°au°" l certify that each explanation en lines 7-9 is true and correct

    
 
 
 

if any answer on tines ?~

 

Yos_ the debtor must sign .
rem annum x
it all the answers animus 7-9 Stgnature et Bebtor t Signeiure of Eteeior 2 (Spouse Only in a Jeint Cese}

are No, go to line 11.

 

tt. Dld an attorney represent Ct No
the debtor in negotiating § Yss. Has the attorney executed a declaration or an affidavit to support the reattirmat]on agreement?
the reaftirmation n No
agreement?
@ Yes

 

 

 

Stgn Here

 

 

Whoever fills out this form l certify that the attached agreement is a true and correct copy of the reaffirmation agreement between the

must sign nem. partles identified on this Cover Sheet for Reafii_rmu£ion Agreemenr.
Daie (Etllg! §§
hint !Gt)!

 

lVlerla Mc:Devitt

Prinled Neme

Chec$< ones

13 Debtor er Debtor's Allorney

@ Creditor or Creditor's Atlorney

 

 

 

 

\ ….. ._,.`. . ____ ‘__m ¢..»,… .¢ .v¢ f

Ofttciat Forrn 427 Cover Sheet for Reattlrrnetion Agreement page 2

 

Case 18-12586-ab| DOC 23 Entered 06/25/18 11:57:32 Page 3 of 10

BZdOt)A (Form 2400)\) {l?JtS)

 

Check one.

B Presurnptton oi'Undue Hardship

5 No Presumption of Undue Hardship
See Debtor’s Statement in Support of
Reaffinnation, Part 11 below, to determine
which box to check.

 

 

 

UNITED STATES BANKRUPTCY COURT
Distrlct ofw__

 

Debtor
Chapter 7
REAFFIRMATION DOCUMENTS

Name of Creditor: e m rt e CO

L".l Check this box if Creditor is a Credit Union

I. REAFF[RMATION AGREEMENT
Reafi`lrming a debt is a serious financial decision. Before entering into this Reaffirmation
Agreemcnt, you must review the important disclosures, instructions, and definitions found
in Part V of this Reaftirmation Documents packet

i. Bricf description of the original agreement being reafi'irmcd: Real §Sfai€
For exampie. aqu loan

2. AMOUN'I‘ REAFFIRMED: $ 263=450-37
The Amount Reafiirmed is the entire amount that you are agreeing to pay. 'I`his
may include unpaid principal, interest, and fees and costs (if any) arising on or
before the date you sign this Rcafiirmation Agrcement.
See the definition of “Amount Reajir'med” in Part V.C below.
3. The ANNUAL PERCENTAGE RATE applicable to the Amoum nean'irmed is 3-37509 %.
See definition of “Annuézl Percentage Rare ” in Port V. C below.

This is a (¢heck ane) Fixcd rate I:l Variabic rate

If thc loan has a variable ratc, the future interest rate may increase or decrease from thc Annual
Porccntage Rate disclosed here. `

 

Case 18-12586-ab| DOC 23 Entered 06/25/18 11:57:32 Page 4 of 10

BZ400A (Fc!m 2400A) (12/15) Page 2

 

    
 

 
  

eatiirmation Agreernent Repayment Tenns:
-f fixed term, $ 2-055-13 per month for 332 months starting 011061011'?-018 .
describe repayment terms:

5. Describe the collateral, if any, securing the debt:

Description; user-uscsnwizssr rules omnom em camera
Cunent Market Value $285.856.00

 

6. Did the debt that is being reaffirming arise nom the purchase of the collateral described
above?

-Yes |:INO

If yes, what was the purchase price for the collateral? $ 273455.00
If no, what was the amount of the original loan? $

7. Detail the changes made by this Reaffirmation Agreement to the most recent credit terms on
the reaffirmed debt and any related agreement:

Tenns as of the Terms After
Date of Bank:ruptcy Reafiin:nation
Balance due (including
fees and costs) $263»450-37 $263,450.37
Annual Percentage Rate mm mcad
Monfhly Paymenf $ 2.055.13 $ 2.055.13

8. El Check this box if the creditor is agreeing to provide you with additional future credit in
connection with this Reaffirmation Agreement. Describe the credit limit, the Annual
Percentage Rate that applies to future credit and any other terms on future purchases and
advances using such credit:

 

 

II. DEBTOR’S STATEMENT IN SUPPORT
OF REAFFIRMATION AGREEMENT

1. Were you represented by an attorney during the course of negotiating this agreement?
Check one. Yes lj No

2. Is the creditor a credit union?

Chcck one. ij Yes |XJ No

 

Case 18-12586-ab| DOC 23 Entered 06/25/18 11:57:32 Page 5 of 10

B2409A (Fonn 2400A)(12Fl5) Page 3

3. lf your answer to EITHER question l. or 2. above is “No” complete a. and b. below.
a.. My present monthly income and expenses are:

i. Monthly income from all sources after payroll deductions
(take-home pay plus any other income) $ 3 230 09

ii. Monthly expenses (including all reaffirmed debts except
this one) $ 1,870.00

iii. Amount available to pay this reaffirmed debt (subtract ii. from i.) $ 2.060.00
iv. Amount of monthly payment required for this reaffirmed debt $ 2055.13

17 the monthly payment on this reaj_?irmed debt (lz'ne iv.) is greater than the amount you have
available to pay this reajjirmed debt (line iii.), you must check the box at the top of page one that
says “Presumption of Undue Hardshz]:). ” Otherwt‘se, you must check the box at the top of page
one that says "No Presumption of Undue Hardshz'p. "

b. I believe this reafiinnation agreement will not impose an undue hardship on my dependents
or on me hecause:

Check one of the two statements below, if applicable:

I can afford to make the payments on the reaffirmed debt because my monthly income
is greater than my monthly expenses even after I include in my expenses the monthly
payments on all debts I am reaffirming, including this one,

Cl I can afford to make the payments on the reaffirmed debt even though my monthly
income is less than my monthly expenses after I include in my expenses the monthly
payments on all debts l am reaffirming, including this one, because:

 

Use an additional page if needed for a full explanation.

4. If your answers to BOTH questions l. and 2. above were “Yes,” check the following
statement, if applicabie:

IJ I believe this reaffirmation agreement is in my financial interest and l can afford to
make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardsht}).”

 

Case 18-12586-ab| DOC 23 Entered 06/25/18 11:57:32 Page 6 of 10

BZIl(lllA (Form 24001\){121’£5) Psge 4

 

lII. CER'I`IFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES

i (We) hereby certify that:
i. l (We) agree to reaffirm the debt described above.
ii. Bet`ore signing this reaffirmation agreement, l (we) read the terms disclosed in this
Reafiitmation Agreement (Part l) and the Diseiosure Statement, instructions and

Delinitions included in Part V below;

iii. The chtor’s Statement in Support of Reaffirrnation Agreement {Part ll above) is
true and complete;

iv. 1 am (We are) entering into this agreement voluntarily and fully informed of` my
(our) rights and responsibilities; and

v. l (We) have received a copy of this completed and signed Reaftirmation Dccnments

packet
SIG 4 S):
Dateé§ 15 19 SignatureZ/f_‘géjg;§§f ll ii Mf¢r‘#§,€§l:ldqi' Q
Debtor
Date Signaturc

 

Joint Debtor, ffony

if a joint reaffirmation agreement, both debtors must sign.

Reaftirmation Agreement Terms Accepteti by Creditor:

grantor Freedom Mortgage Corporation 500 virginia Dr. Ste. 502 F:. Washingron, PA 19034
P)‘in! Name Address ‘

ftlgg£g;{]{];jhwgi llin m iihii;;@ & tt/ y
Prial amc of Represenlolive Signatw'e Drr!e

IV. CERTIFLCAT!ON BY DEBTOR’S ATTORNEY (IF ANY)

'I`o bejiied only t`fthe attorney represented the debtor during the course of negotiating this agreement

 

l hereby certify lhat: (l) this agreement represents a fully informed and voluntary agreement
by the debtor; (2) this agreement does not impose an undue hardship on the debtor or any
dependent of thc debtor; and (3) l have fully advised the debtor of the legal effect and
consequences of this agreement and any default under this agreement

ij A presumption of undue hardship has been established with respect to this agreement in
my opinion, ho\vever, the debtor is able to make the required payment

Check box, ift}:e presumption oj`zmtlue hardship box is checked on page ] and the creditor is
not o C)'ea`it Union.

Date _§_115/2018 Signature of Debtor’s Attorney §§ @’N

Print Name ofDebtor’s Attorney SISTH D BALIHI‘AEDT, ESQ.

 

 

 

 

 

 

 

Case 18-12586-ab| Doc 23 Entered 06/25/18 11:57:32 Page 7 of 10

susan arm 2400A)(1zus) regs s

V. DISCLOSURE STATEMENT AND lNSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaf`firmatlon
Agreement (Part l) and these additional important disclosures and instructions

Reaffirmiug a debt is a serious financial decision. The law requires you to take certain steps to
make sure the decision is in your best interest If` these steps, detailed in Part B below, are not
completed, the reaffirmation agreement is not effective, even though you have signed it.

A. DISCLOSURE STATEMEN'I`

1. What are your obligations if you reaffirm a debt? A reaffirmed debt remains your
personal legal obligation Your reaffinned debt is not discharged in your bankruptcy
case. That means that if you default on your reaft`n'med debt after your bankruptcy case is
over, your creditor may be able to take your property or your wages. Your obligations
will be determined by the reaffirmation agreement, which may have changed the terms of
the original agreement If you are reaffirming an open end credit agreement, that
agreement or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions

2. Are you required to enter into a reaffirmation agreement by any law? No, you are
not required to reaffirm a debt by any law. Only agree to reaff`um a debt if it is in your
best interest Be sure you can afford the payments that you agree to make.

3. What if` your creditor has a security interest or lien? Your bankruptcy discharge does
not eliminate any lien on your property. A “lien” is often referred to as a security
interest, deed of trust, mortgage, cr security deed. The property subject to a lien is often
referred to as collateral Bven if you do not reaffirm and your personal liability on the
debt is discharged, your creditor may still have a right under the lien to take the collateral
if you do not pay or default on the debt. If the collateral is personal property that is
exempt or that the trustee has abandoned, you may be able to redeem the item rather than
reaffirm the debt. To redeem, you make a single payment to the creditor equal to the
current value of the collateral, as the parties agree or the court determines

4. How soon do you need to enter into and file a reaffirmation agreement? If you
decide to enter into a reaffirmation agreement, you must do so before you receive your
discharge After you have entered into a reaff'mnation agreement and all parts of this
Reaffirmation Dccuments packet requiring signature have been signed, either you or the
creditor should tile it assoon as possible. The signed agreement must be filed with the
court no later than 60 days after the first date set for the meeting of creditors, so that the
court will have time to schedule a hearing to approve the agreement if approval is
required

5. Can you cancel the agreement? You may rescind (cancel) your reaffirmation
agreement at any time before the bankruptcy court enters your discharge, or during the
60-day period that begins on the date your reaffirmation agreement is filed with the court,
whichever occurs later. To rescind (caneel) your reaffirmation agreement, you must
notify the creditor that your reaffirmation agreement is rescinded (or eanceled).
Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed

 

Case 18-12586-ab| DOC 23 Entered 06/25/18 11:57:32 Page 8 of 10

B24DUA {Form 24UDA) (i2/15} Pege 6

6.

When will this reaffirmation agreement be effective?

a. If you were represented by an attorney during the negotiation ofyour
reaffirmation agreement

i. if the creditor is not a Credit Union, your reaffirmation agreement becomes
effective upon filing with the court unless the reaffirmation is presumed to be an
undue hardship in which case the agreement becomes effective only after the
court approves it;

ii. if the creditor is a Credit Union, your reafl`u‘mation agreement becomes
effective when it is iiled with the court,

b. If you were not represented by an attorney during the negotiation of your
reaffirmation agreement, the reaffirmation agreement will not be effective unless the
court approves it. To have the court approve your agreement, you must file a motion.
See Instruetion 5, below. The court will notify you and the creditor of the hearing on
your reaffirmation agreementl You must attend this hearing, at which time the judge will
review your reaffirmation agreement, If the judge decides that the reaffirmation
agreement is in your best interest, the agreement will be approved and will become
effective. However, if your reaffirmation agreement is for a consumer debt secured by a
mortgage, deed of u'ust, security deed, or other lien on your real property, like your
home, you do not need to file a motion or get court approval of your reaffirmation
agreement

What if you have questions about what a creditor can do? lf you have questions
about reaffirmng a debt or what the law requires, consult with the attorney who helped
you negotiate this agreement, If you do not have an attorney helping you, you may ask
the judge to explain the effect of this agreement to you at the hearing to approve the
reaffirmation agreement When this disclosure refers to what a creditor “may” do, it is
not giving any creditor permission to do anything The word “may” is used to tell you
what might occur if the law permits the creditor to take the action.

lNSTRUCTIONS

Review these Disclosures and carefully consider the decision to reaffirm If` you want to
reafi'nm, review and compiete the information contained in the Reafiirmation Agreement
(Part I above). If your case is a joint case, both spouses must sign the agreement if both
are reaffirming the debt.

Complete the Debtor’s Statement in Support of Reaftirmation Agreement (Part ]I above).
Be sure that you can afford to make the payments that you are agreeing to make and that
you have received a copy of the Disclosure Statement and a completed and signed
Reaffirmation Agreement.

If you were represented by an attorney during the negotiation of your Reaffirmation
Agreement, your attorney must sign and date the Certiiication By chtor’s Attorney
section (Part IV above).

You or your creditor must file with the court the original of this Reafiirmation
Documents packet and a completed Reafiirmation Agreement Cover Sheet (Official
Banlcruptcy Form 427).

17 you are nor represented by on ottorney, you must afso complete and file with the court
a separate document entitled "Motion for Court Approval ofReajj‘imation Agreement
unless your reaj]irmation agreement isfor a consumer debt secured by a lien on your
realproperty, such as your home You can use Form B2400B to do this.

 

Case 18-12586-ab| DOC 23 Entered 06/25/18 11:57:32 Page 9 of 10

B2400A (Fon'n 24UUA) (lZ/l$} Page 7

C. DEFINITIONS

l. “Amount Reaftlrmed” means the total amount of debt that you are agreeing to pay
(reafl“um) by entering into this agreement, The amount of debt includes any unpaid fees
and costs arising on or before the date you sign this agreement that you are agreeing to
pay. Your credit agreement may obligate you to pay additional amounts that arise after
the date you sign this agreement You should consult your credit agreement to determine
whether you are obligated to pay additional amounts that may arise after the date of this
agreement

2. “Annual Percentage Rate” means the interest rate on a loan expressed under the rules
required by federal law. The annual percentage Rate (as opposed to the “stated interest
rate”) tells you the full cost of your credit including many of the oreditor’s fees and
charges You will find the annual percentage rate for your original agreement on the
disclosure statement that was given to you when the loan papers were signed or on the
monthly statements sent to you for an open end credit account such as a credit card.

3. “Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(l)(A)(iv).
lt is owned and controlled by and provides financial services to its members and typically
uses Words like “Credit Union” or initials like “C.U.” or “F.C.U.” in its name.

 

 

 

_ Case 18-12586-ab|

DOC 23 Entere_d 06/25/18 11257232

Page 10 of 10 7

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Signature

Date

 

 

 

